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   9
                                     UNITED STATES DISTRICT COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11

  12 ROBERT HUNTER BIDEN                                  Case No.: 2:23-cv-07593-HDV-KS
  13                 Plaintiff(s)                         Honorable Hernan D. Vera
                                                          Magistrate Judge Karen L. Stevenson
  14          v.
                                                          REQUEST FOR JUDICIAL NOTICE IN
  15 GARRETT ZIEGLER, an individual; ICU,                 SUPPORT OF DEFENDANTS’ MOTION
     LLC, a Wyoming limited liability company,            FOR RECUSAL
  16
                 Defendant(s)                               Date:      April 25, 2024
  17
                                                            Time:      10:00 a.m.
  18                                                        Ctrm:      5B

  19

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  21

  22          Pursuant to Federal Rules of Evidence, Rule 201, Defendants request that this Court take

  23 judicial notice of the documents that follow. District courts may take judicial notice of “a fact that

  24 is not subject to reasonable dispute because it: (1) is generally known within the trial court’s

  25 territorial jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy

  26 cannot reasonably be questioned.” Federal Rules of Evidence 201(b).

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                            DEFENDANTS’ REQUEST FOR JUDICIAL NOTICE
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   1          1.      Exhibit 1: A true and correct copy of an excerpt of the Report on the Biden Laptop,
   2 a 644-page report (the “Biden Laptop Report”) regarding the contents of files that originated from

   3 a laptop once owned by Plaintiff, Hunter Biden, accessible on https://www.marcopolo501c3.org/ at

   4 the following URL: https://www.marcopolo501c3.org/p/report-on-the-biden-laptop.

   5          2.      Judicial notice of information obtained from a website is proper when neither party
   6 questions the authenticity of the site. Pollstar v. Gigmania, Ltd., 170 F. Supp.2d. 974, 978 (E.D.

   7 Cal. 2000). Further, courts have taken judicial notice of private companies’ websites, taking “as true

   8 that the website exists and makes certain representations about the company to the public.” Genasys,

   9 Inc. v. Vector Acoustics, LLC, 638 F.Supp. 3d 1135, 1147 (S.D. Cal. 2022).

  10          3.      Defendants request judicial notice of the fact that the Biden Laptop Report may be
  11 accessed through the existing MarcoPolo501c3.org website. Defendants also request that this Court

  12 take judicial notice of the fact that the Biden Laptop Report was prepared by nonprofit organization,

  13 Defendant ICU, LLC dba Marco Polo (“Marco Polo”) and its founder, Defendant Garrett Ziegler

  14 (“Ziegler”).

  15          4.      The Biden Laptop Report is relevant to the case because the contents of the Biden
  16 Laptop are directly at issue in Plaintiff’s Complaint, as Plaintiff’s Complaint alleges that Defendants

  17 altered, manipulated, and tampered with the data linked to the Biden Laptop and Plaintiff seeks to

  18 enjoin Defendants from “accessing, tampering with, manipulating, or copying Plaintiff’s data.”

  19 Complaint (“Compl.”), Prayer for Relief (F)(1)-(2), ECF No. 1.
  20          5.      Exhibit 2: A true and correct copy of a web page entitled “In the News” from the
  21 following URL at www.MarcoPolo501c3.org : https://www.marcopolo501c3.org/p/inthenews .

  22          6.      For this Court’s convenience, Defendants incorporate by reference the legal
  23 authorities and corresponding legal arguments set forth above pertaining to the Request for Judicial

  24 Notice of Exhibit 1 in support of Defendants’ Request for Judicial Notice of Exhibit 2.

  25          7.      Defendants request judicial notice of the fact that citations to Marco Polo’s work
  26 concerning the Biden Laptop Report are referenced on Marco Polo’s website.

  27          8.      This web page is relevant to the case because it references citations to Marco Polo’s
  28 work surrounding the Biden Laptop Report, which is directly at issue in Plaintiff’s Complaint, as

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   1 Plaintiff’s Complaint alleges that Defendants altered, manipulated, and tampered with the data

   2 linked to the Biden Laptop and Plaintiff seeks to enjoin Defendants from “accessing, tampering

   3 with, manipulating, or copying Plaintiff’s data.” Complaint (“Compl.”), Prayer for Relief (F)(1)-

   4 (2), ECF No. 1. As set forth by Defendants’ Motion for Recusal and the Declaration of Garrett

   5 Ziegler in support thereof, there have been at least 441 citations to Marco Polo’s websites by other

   6 media outlets as a source of reliable information. The web page in Exhibit 2 is relevant to

   7 Defendants’ Motion for Recusal because, if Judge Vera grants Plaintiff’s requested relief and shuts

   8 down Defendants’ website, concealing the Biden Laptop Report from the media, Congress, and the

   9 public, Judge Vera’s impartiality might reasonably be questioned when taken into consideration

  10 with his political contributions to President Biden’s 2020 presidential election campaign and his

  11 appointment to the federal court by President Biden just three months before this case was assigned

  12 to him.

  13           9.    Exhibit 3: A true and correct copy of an excerpt of the deposition transcript of the
  14 deposition of Robert Hunter Biden, taken by the United States House of Representatives Committee

  15 on Oversight and Accountability and Committee on the Judiciary on February 28, 2024. A copy of

  16 the relevant portions of the transcript were last accessed on or about March 5, 2024, from the

  17 following        URL:        https://oversight.house.gov/wp-content/uploads/2024/02/Hunter-Biden-
  18 Transcript_Redacted.pdf . This URL is provided on the press release from the official website of

  19 the United States House of Representatives Committee on Oversight and Accountability, titled
  20 “Oversight and Judiciary Committees Release Hunter Biden Transcript” and published on February

  21 29, 2024, at the following URL: https://oversight.house.gov/release/oversight-and-judiciary-

  22 committees-release-hunter-biden-transcript%ef%bf%bc/ .

  23           10.   This Court may take judicial notice “of court filings and other matters of public
  24 record,” Reyn’s Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6 (9th Cir. 2006). Courts

  25 “routinely take judicial notice of information contained on state and federal government websites.”

  26 United States v. Garcia, 855 F. 3d 615, 621 (4th Cir. 2017). “In general, courts may take judicial

  27 notice of publicly available congressional records, including transcripts of congressional hearings.”

  28 Lopez v. Bank of America, N.A., 505 F.Supp.3d 961, 970 (N.D. Cal. 2020). Moreover, courts “may

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   1 take judicial notice of affidavits, properly proved agreements, depositions, sworn testimony, and

   2 similar material of public record . . .” U.S. v. Webber, 396 F.2d 381, 386 (3d. Cir. 1968).

   3          11.    Plaintiff’s deposition transcripts and sworn testimony as part of the congressional
   4 impeachment inquiry are proper subjects for judicial notice. The subject matter of this case concerns

   5 content from a laptop Plaintiff abandoned (“Biden Laptop”). Thereafter, Defendant investigated,

   6 published, and reported on the laptop contents. Information from the laptop is directly relevant to

   7 the congressional impeachment inquiry of President Biden, as some of those facts may be used to

   8 impeach President Biden. The Deposition of Hunter Biden (Exhibit 3) was conducted pursuant to

   9 the impeachment inquiry and reveals that Defendants’ actions and the relief requested by Plaintiff,

  10 President Biden’s son, are intertwined with the impeachment inquiry. This fact is directly relevant

  11 to Defendants’ Motion for Recusal because the outcome of the litigation could make impeachment

  12 less likely, causing a reasonable observer to question Judge Vera’s impartiality under 28 U.S.C. §

  13 455(a), given Judge Vera’s vested interest in President Biden.

  14          12.    Exhibit 4: A true and correct copy of an excerpt of the transcripts of the interview
  15 of Mervyn Yan, taken by the United States House of Representatives Committee on Oversight and

  16 Accountability and Committee on the Judiciary on January 25, 2024. A copy of the relevant portions

  17 of the transcript were last accessed on or about March 5, 2024, from the following URL:

  18 https://oversight.house.gov/wp-content/uploads/2024/02/Mervyn-Yan-Transcript.pdf . This URL

  19 is provided on the press release from the official website of the United States House of
  20 Representatives Committee on Oversight and Accountability, titled “Oversight and Judiciary

  21 Committees Release Mervyn Yan Transcript” and published on February 8, 2024, at the following

  22 URL: https://oversight.house.gov/release/oversight-and-judiciary-committees-release-mervyn-yan-

  23 transcript%ef%bf%bc/ .

  24          13.    For this Court’s convenience, Defendants incorporate by reference the legal
  25 arguments and corresponding legal authorities set forth above pertaining to the Request for Judicial

  26 Notice of Exhibit 3 in support of Defendants’ Request for Judicial Notice of Exhibit 4. The excerpts

  27 of the interview transcripts of Mervyn Yan, and the interview statements therein, are judicially

  28 noticeable as matters of the public record related to the congressional impeachment inquiry. They

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   1 reference Defendant GARRETT ZIEGLER (“Ziegler”) and emails from Ziegler’s website,

   2 Bidenlaptopemails.com. The references to Defendants and the emails from the Biden Laptop are

   3 relevant to this case because the contents of the Biden Laptop are directly at issue in Plaintiff’s

   4 Complaint, and Plaintiff seeks to enjoin Defendants from “accessing, tampering with, manipulating,

   5 or copying Plaintiff’s data.” Complaint (“Compl.”), Prayer for Relief (F)(1)-(2), ECF No. 1. As

   6 described in more detail above, any decision rendered by Judge Vera favoring the Plaintiff will make

   7 impeachment less likely, as the public, media, and Congress will be barred from accessing

   8 Defendants’ investigative reporting and contents on the Biden Laptop. Thus, a reasonable observer

   9 might question Judge Vera’s impartiality under 28 U.S.C. § 455(a), given Judge Vera’s vested

  10 interest in President Biden.

  11          14.    Exhibit 5: A true and correct copy of an excerpt of the transcripts of the interview
  12 of John Robinson Walker, taken by the United States House of Representatives Committee on

  13 Oversight and Accountability and Committee on the Judiciary on January 26, 2024. A copy of the

  14 relevant portions of the transcript were last accessed on or about March 5, 2024, from the following

  15 URL: https://oversight.house.gov/wp-content/uploads/2024/02/Walker-Transcript.pdf This URL is

  16 provided on the press release from the official website of the United States House of Representatives

  17 Committee on Oversight and Accountability, titled “Oversight and Judiciary Committees Release

  18 Rob Walker Transcript” and published on February 13, 2024, at the following URL:

  19 https://oversight.house.gov/release/oversight-and-judiciary-committees-release-rob-walker-
  20 transcript%ef%bf%bc/

  21          15.    For this Court’s convenience, Defendants incorporate by reference the legal
  22 arguments and corresponding legal authorities set forth above pertaining to the Request for Judicial

  23 Notice of Exhibits 3 and 4 in support of Defendants’ Request for Judicial Notice of Exhibit 5. The

  24 excerpts of the interview transcripts of John Robinson Walker and interview statements therein are

  25 proper subjects for judicial notice because they are materials in the public record related to the

  26 congressional impeachment inquiry. They are relevant to this case because they reference Defendant

  27 Ziegler and emails from Ziegler’s website, Bidenlaptopemails.com. The contents of the Biden

  28 Laptop, including emails, are at issue in the Complaint. As described in more detail above, any

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   1 decisions rendered by Judge Vera favoring the Plaintiff will make impeachment less likely, as the

   2 public, media, and Congress will be barred from accessing Defendants’ investigative reporting and

   3 contents on the Biden Laptop, including emails. Thus, a reasonable observer might question Judge

   4 Vera’s impartiality under 28 U.S.C. § 455(a), given Judge Vera’s vested interest in President Biden.

   5          16.    Exhibit 6: A true and correct copy of an excerpt of the transcripts of the interview
   6 of James Biden, taken by the United States House of Representatives Committee on Oversight and

   7 Accountability and Committee on the Judiciary on February 21, 2024. A copy of the relevant

   8 portions of the transcript were last accessed on or about March 5, 2024 from the following URL:

   9 https://oversight.house.gov/wp-content/uploads/2024/03/James-Biden-Transcript.pdf This URL is

  10 provided on the press release from the official website of the United States House of Representatives

  11 Committee on Oversight and Accountability, titled “Oversight and Judiciary Committees Release

  12 James Biden Transcript” and published on March 1, 2024, at the following URL:

  13 https://oversight.house.gov/release/oversight-and-judiciary-committees-release-james-biden-

  14 transcript%ef%bf%bc/

  15          17.    For this Court’s convenience, Defendants incorporate by reference the legal
  16 arguments and corresponding legal authorities set forth above pertaining to the Request for Judicial

  17 Notice of Exhibits 3, 4, and 5 in support of Defendants’ Request for Judicial Notice of Exhibit 6.

  18 The excerpts of the interview transcripts of James Brian Biden and the interview statements therein

  19 are matters of public record relevant to this case because they reference “emails from a laptop
  20 website” belonging to Ziegler. The contents of the Biden Laptop, including emails, are at issue in

  21 the Complaint. As described in more detail above, any decisions rendered by Judge Vera favoring

  22 the Plaintiff will make impeachment less likely, as the public, media, and Congress will be barred

  23 from accessing Defendants’ investigative reporting and contents on the Biden Laptop, including

  24 emails. Thus, a reasonable observer might question Judge Vera’s impartiality under 28 U.S.C. §

  25 455(a), given Judge Vera’s vested interest in President Biden.

  26          18.    Exhibit 7: A true and correct copy of excerpts of the Federal Election Commission
  27 web page showing “Individual Contributions” for Hernan D. Vera, were last accessed on March 6,

  28 2024,       from      the     following     URL:       https://www.fec.gov/data/receipts/individual-
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   1 contributions/?contributor_name=hernan+vera&contributor_city=los+angeles&two_year_transacti

   2 on_period=2020&min_date=01%2F01%2F2019&max_date=12%2F31%2F2020.

   3           19.    For this Court’s convenience, Defendants incorporate by reference the legal
   4 authorities set forth above pertaining to the Request for Judicial Notice of Exhibits 3 in support of

   5 Defendants’ Request for Judicial Notice of Exhibit 7. Further, courts in other jurisdictions have

   6 taken judicial notice of “cited political and statistical facts that the Federal Election Commission

   7 has posted on the web.” Johnson v. Commission on Presidential Debates, 202 F.Supp. 3d 159, 167

   8 (D.D.C. 2016).

   9           20.    Defendants request that this Court take judicial notice of the official web page of the
  10 Federal Election Commission because it contains information from a federal government website.

  11 United States v. Garcia, 855 F. 3d at 621. Defendants also request that this Court take judicial notice

  12 of the contribution amounts reflected in the excerpts to President Biden’s campaign, as “cited

  13 political and statistical facts that the Federal Election Commission has posted on the web.” Johnson

  14 v. Commission on Presidential Debates, 202 F.Supp. 3d at 167. These Federal Election Commission

  15 records and contribution amounts are relevant to the present case because Judge Vera’s political

  16 contributions to President Biden might cause a reasonable observer to question Judge Vera’s

  17 impartiality under 28 U.S.C. § 455(a) in connection with any ruling rendered by Judge Vera to grant

  18 Plaintiff’s injunction and halt the Congressional Impeachment Inquiry to keep President Biden in

  19 office.
  20           21.    Exhibit 8: A true and correct copy of a press release titled, “Senate Confirms
  21 Superior Court Judge Hernán D. Vera as United States District Judge for the Central District of

  22 California” and dated June 13, 2023, that was last accessed on or about March 6, 2024, from the

  23 following             URL:https://www.cacd.uscourts.gov/sites/default/files/documents/2023-06-
  24 13%20Press%20Release%20-%20Judge%20Vera.pdf . This URL is provided on a web page

  25 from the official website of the United States District Court for the Central District of California:

  26 https://www.cacd.uscourts.gov/news/senate-confirms-superior-court-judge-hern%C3%A1n-

  27 d-vera-united-states-district-judge-central

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   1           22.     For this Court’s convenience, Defendants incorporate by reference the legal
   2 authorities set forth above pertaining to the Request for Judicial Notice of Exhibit 3 in support of

   3 Defendants’ Request for Judicial Notice of Exhibit 8. Additionally, “Courts in the Ninth Circuit

   4 routinely take judicial notice of press releases.” In re Am. Apparel, Inc. S'holder Litig., 855 F. Supp.

   5 2d 1043, 1062 (C.D. Cal. 2012). Accordingly, the press release on the official government website

   6 of the United States District Court for the Central District of California is a proper subject for judicial

   7 notice.

   8           23.    Defendants also request that this Court judicially notice the appointment of Judge
   9 Vera to the federal bench by President Biden on June 13, 2023. See, e.g., Brown v. Piper, 91 U.S.

  10 37, 42 (1875) [finding that “The coincidences of the days of the week with those of the month” and

  11 “the appointment of members of the cabinet, the election and resignations of senators, and of the

  12 appointment of marshals and sheriffs . . . ” are proper subjects for judicial notice.] See also Lefkovits

  13 v. State Bd. Of Elections, 400 F.Supp. 1005 n. 1 (N.D. Ill. 1975) [taking judicial notice of the

  14 appointment of a state court judge].

  15           24.    These facts are relevant to Defendants’ Motion for Recusal because a reasonable
  16 observer might question Judge Vera’s impartiality under 28 U.S.C. § 455(a) if Judge Vera rules in

  17 Plaintiff’s favor, making impeachment less likely, in consideration with his assignment to this case

  18 just three months after his appointment to the bench by President Biden.

  19           25.    Exhibit 9: A true and correct copy of an internet news article published on June 13,
  20 2023, by BloombergLaw.com, and titled, “Vera Confirmed as US Trial Judge in California After

  21 Long Wait,” were last accessed on or about March 6, 2024, at the following URL:

  22 https://news.bloomberglaw.com/us-law-week/vera-confirmed-as-us-trial-judge-in-california-after-

  23 long-wait

  24           26.     “[T]he fact that various newspapers, magazines, and books have published
  25 information. * * * Courts may take judicial notice to ‘indicate what was in the public realm at the

  26 time, not whether the contents of those articles were in fact true.’ ” Von Saher v. Norton Simon

  27 Museum of Art at Pasadena, 578 F. 3d 1016, 1022 (9th Cir. 2009) (citations omitted). See Castaneda

  28 v. Saxon Mortg. Servs. Inc., 687 F.Supp.2d 1191, 1196 (E.D.Cal.2009) (denying a request for

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   1 judicial notice of an unpublished article “which expresse[d] opinions of the author that may

   2 reasonably be questioned”).

   3             27.     For this Court’s convenience, Defendants incorporate by reference the legal
   4 authorities set forth above pertaining to the Request for Judicial Notice of Exhibit 8 in support of

   5 Defendants’ Request for Judicial Notice of Exhibit 9. All facts requested by Defendants to be

   6 judicially noticed pursuant to Exhibit 7 (explained below) were generally known to the public at the

   7 time the article was published. This article does not contain questionable opinions expressed by the

   8 author, as was the case in Castaneda.

   9             28.     Defendants request that this Court take judicial notice of the fact that Judge Vera was
  10 appointed to the federal bench on June 13, 2023, by President Biden, cited within the above-

  11 referenced article. The date of the nomination and the fact that President Biden appointed Judge

  12 Vera specifically are confirmed for their accuracy by the information in the press release referenced

  13 in Exhibit 6.

  14             29.     Defendants also request judicial notice of the facts that: (1) Judge Vera’s nomination
  15 was deadlocked twice in Congress; and (2) Judge Vera’s nomination was confirmed by a 51-48

  16 Democratic majority.

  17             30.     This information is relevant to Defendants’ Motion for Recusal because a reasonable
  18 observer might question Judge Vera’s impartiality under 28 U.S.C. § 455(a), considering the

  19 connection between the Impeachment Inquiry and the outcome of this litigation as well as the fact
  20 that Judge Vera was assigned to this case a mere three months after he was appointed to the federal

  21 bench by President Biden (and deadlocked twice in Congress).

  22             31.     Exhibit 10: A true and correct copy of H.Res. 918, a Resolution of the United States
  23 House of Representatives adopted on December 13, 2023, that was last accessed on or about March

  24 6, 2024, from the following URL: BILLS-118hres918eh.pdf (congress.gov) . This URL is provided

  25 on      a         web   page    from     Congress.gov,      the    official   website     of    Congress:
  26 https://www.congress.gov/bill/118th-

  27 congress/houseresolution/918/text?s=2&r=15&q=%7B%22search%22%3A%22impeachment%22%7D .

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    1          32.    For this Court’s convenience, Defendants incorporate by reference the legal
    2 arguments and corresponding legal authorities set forth above pertaining to the Request for Judicial

    3 Notice of Exhibit 3 in support of Defendants’ Request for Judicial Notice of Exhibit 10. Judicial

    4 notice is proper, given that the Resolution is from an official government website, consisting of

    5 matters in the public record.

    6          33.    The United States House of Representatives’ adopted Resolution to formally
    7 impeach President Biden is relevant to the outcome of the litigation in that a ruling granting

    8 Plaintiff’s injunctive relief to prevent Defendants from “accessing, tampering with, manipulating,

    9 or copying Plaintiff’s data” or maintaining their websites, impeachment will be less likely, as

   10 Congress, the media, and the public will no longer have access to Defendants’ website. This fact is

   11 relevant to Defendants’ Motion for Recusal because, if Judge Vera rules in Plaintiff’s favor, a

   12 reasonable observer might question Judge Vera’s impartiality under 28 U.S.C. § 455(a), when

   13 considering Judge Vera’s political contributions to President Biden’s 2020 presidential election

   14 campaign and his appointment to the federal court by President Biden just three months before this

   15 case was assigned to him.

   16          34.    Exhibit 11:     A true and correct copy of a video from C-SPAN regarding a
   17 congressional hearing of the House Oversight & Accountability Committee related to Plaintiff’s

   18 refusal to attend a congressional deposition, dated January 10, 2024, available at the following URL:

   19 https://www.c-span.org/video/?532775-2/oversight-committee-debates-resolution-hold-hunter-
   20 biden-contempt-congress-part-2 .

   21          35.    For this Court’s convenience, Defendants incorporate by reference the legal
   22 arguments and corresponding legal authorities set forth above pertaining to the Request for Judicial

   23 Notice of Exhibit 3 in support of Defendants’ Request for Judicial Notice of Exhibit 11. Further,

   24 this video is a proper subject for judicial notice because its contents form the basis of Plaintiff’s

   25 Complaint. See Battle v. A&E Television Networks, LLC, 837 F. Supp. 2d 767, 772 n.2 (M.D. Tenn.

   26 2011) (taking judicial notice of the contents of a television program that formed the basis of a

   27 defamation/false light suit).

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    1          36.    The video referenced above pertains to a hearing related to Plaintiff’s refusal to
    2 attend a congressional deposition pertaining to his father’s impeachment inquiry. The statements

    3 and exhibits referenced within the video are relevant to this case because they reference Defendant

    4 Marco Polo and the Biden Laptop Report. (See minutes 21:00-24:27; 23:17–24:03; and 23:58-

    5 24:27.) As previously discussed, the subject matter of this case concerns content from a laptop

    6 Plaintiff abandoned (“Biden Laptop”). Thereafter, Defendant investigated, published, and reported

    7 on the laptop contents. Information from the laptop is directly relevant to the congressional

    8 impeachment inquiry of President Biden, as some of those facts and may be used to impeach

    9 President Biden. The subject of this litigation and its impact on the impeachment inquiry relate to

   10 Defendants’ Motion for Recusal because the outcome of the litigation could make impeachment less

   11 likely, causing a reasonable observer to question Judge Vera’s impartiality under 28 U.S.C. § 455(a),

   12 given Judge Vera’s vested interest in President Biden.

   13
                                                  TYLER LAW, LLP
   14 DATED: March 7, 2024

   15
                                                  By: /s/ Robert H. Tyler
   16                                                 Robert H. Tyler, Esq.
                                                      Attorneys for Defendants Garrett Ziegler and
   17                                                 ICU, LLC

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